          Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 1 of 11 PageID #:24                      omc


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   Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 3 of 11 PageID #:26


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     Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 5 of 11 PageID #:28




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   Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 6 of 11 PageID #:29




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     Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 7 of 11 PageID #:30




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        Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 8 of 11 PageID #:31




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                       Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 9 of 11 PageID #:32
                                                                     ILuNoIS DEPARTiIENT         OF CORRECTIONS
                                                                         " Parole Vlolation RePort

Sectlon A: Vlolatlon Details                                                                                                                                      Norrb
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                                                                                                                                                                                   t
Oltender: Tumer.       James
                                                                     .                        Allag:

                                                                                         ol Vlolaflon:      @B                                 -     Dat6 of Blrth:     QZQIII95O-
Parent FacllltF

Gender: Ellvlale lJ       Femare       Bace: ECaucasian ElAfdcanAmerloan                  EAsian EHispanic EMtiveAmerican Eothsr
                                                                 l.H.#:19874                                                       CCJ#:
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Release Date: 10/15/2014                                Dlscharge Date: 0411012017

                                                -                                                                                    Custody Date:
Custody FacllltP

Oftense(s):

IDOC Warrant #: CP-15028b8
                                                                                                                           DatE Wanant lssued:         Ql/-!fl[l
                                                                   vlolaflons that have occurred slnce the most rscent rElease trom lDoc
Llst ail arrests andor alleged parole/Mandatory supervlsed ReleasE
                                                                          checkBd ln the Notce ol chargas sectlon must be explalned ln
custody. lnctude those that have had sanctons lssued. NOTE: All boxes
                                                                                                                      method of any weapons used; identity and iniury to any victm(s);
detall ln the narradve below             (include date, time, place and descripilon of the violation; description and
                                                                                                                               turner (Nl1061)        went to stroger Hospital and the
anest dats and anesting agenc!,; cdminal charges; and custody/court/bond
                                                                         inlormatio           ilt a\3nnol5 ,          James
                                                                                                                                        on
                                                                       Mental Hospital and a warrant was issued. warrant was Diverted
 n he was positive for opiates on that same day Turner was Methodist
                                                                                              his Agent. or-o3tl7tzols at 1:07 pm due to offender
 o3ttstzolsat lg0l   offender was given orders to not leave rhe residence until he is seen by
                                                                                   AMScalled(312)259-lg8Tbutcouldnotleavea
 trot returning from03/16/2015 at 1730 awarrantwasgenerated forJamesTurner(N11061)
                                                               the resident                      o3ll8l2ol5         and there was no ansiwer at the door' offender has been on
 message due to the voice mail not being set up. Agent went by

 unauthorized movement since 03/16/2015. End Of Report'


                                                                                                              was already in violation for being
 AMENDED: o\o4t24l2ll45 offender           was anested by chicago Police Department the 66 district offender
                                                                                   chicago Police Department and offender hds new charges for retail
 AwoL     for 3g days and offender is currently being hetd at the 6d district with
 theft. End of RePort.

                                                              (absent without permission ol the agent):
 Answer the following quesiions only il the offender was AWOL
                                                                         No El   Yes               Oflender has been AWOL since (support in your narrative)l 0311612015
 Was this ofiender AWOL at the dme ot the violation? EI

 Did the offender make any contacts to AMS while                AwoL? El No         E   Yes        lf yes, dates of contacts:03/1712015



  ls this cunent anest or alleged violation a sex-related or domestic-related
                                                                              offense? El                          No E Yes       Relationship to victim:


                                        lf yes, can the offender retum to tho cunent host site?             E No      El Yes

  Attachments:     I     Sanction       Form E        Police    Beport E Other (specity):
  I hereby declare that the facts of the alleged violations in this
                                                                    report are truthful to the best of my knowledge and belief'



                                                                                                                                                                             MnS12015
                                                                                                                                                                                  Dale




  J.   Jackson
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                                      Notlce ot Charges (sectlon B) must- be completed at the same tlme
                                                                                                        thls secfion ls completed'




                                                                                               Paga                                                                     DOC oO71 (Rw. 9/2014)
   Distribuffon: Offender; Fleleasing Authority; Offender's Case File;
                                                                                                      1

                 Parent Field SeMces Representative: AMS;
                 Hearing Officar; if FOS, lnterstata Compact                           Pidted on Rec.tcled PoPer
                        Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 10 of 11 PageID #:33                                2o      t;-oTagtl                         ?
                                                                       ITLINOB DEFABTUENT OF COFRECNONS
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                                                                                                                            N0il61                            .-,

                                                 Mandatory supervlsed Releaee                                         Molatfons
sectlon B: Noflce of chargeeof Alleged Parole or                                                                                                       .: .
                                                                                                                                          condtdons ol Parde or
you ar' hereby notifled ,.aL             as detailed on this form, you are   chargd wlth having committed the followlng vlotatons of ;our
Mandatory SuiErviseO nenase Agreement
EI  1. Violaton of any crim[nal sEtute.
tr    A    Possessionofaffraannorotrsrdangerouswoapon'
A     3. Failure to report io your agent (AWOL)'
                                                                        or elsewhere as determined necessary'
ts    4. Failure tO permn tre agfit tro dsit your host sitq employment                                                              on parole or mandatory supervised
                                                                       lorthe  instucton or residence of persons
tr    5. FailurEto attenda progran or reside tn alacility established
           release.
                                                                an inmate in.an IEC facility'
n     6.   Failura tq get permission belore vlsitng or writng
                                             to an agent  ai soon  as possible but in no event             liter than 24 hours after relEase from custody'
EI    7.   Failure to report all your anests
                                                                    ttre State ol lllinols'
           Failure to get your agenfs permission    before leaving
tr    8.
trg.FailuretogetyouragenfspermissionbelorechangingyourresidenceoremploymenL
                                                                       your residence that are under your conbol'
E 10. Failure to consent to a searci of you, your Property or areas ofln any form, or any paraphemalia related to those substanc's'                            or Iailure to submit
El 11. Use or possession of narcotcs or other controled substances
               to a urinalPis test as instructed'
                                                        illegally sold, used,                  distributed or administered'
 a ,12. Belng in places where controlled substances are
                                                    parore  or mandatory supeMsed release without
                                                                                                  prior written permission                           of your agent or
                                         persons on
 El rg. Knowingry assocf"i'"g-*U't
                   assoclatng with other
                                   p""ons who are members      of an organized street gang'
               knowingty                                                                                                                       parole/mandatory
                                                                                               how you are adiusting to the community while on
 E 14.
   ' Failure to provide true and accurate informaton to-Y9:1-1S-111*$
                  release, or to your conduct whlle you were incarcerareo'
               supeMsed
 El15.Failuretofollowanyspeciflclnstructonsfromyouragentspeoiflcally:                                                                 to comoly with rules                 of
                                                                        ol release (pRB orders and/or Rules 17'37, be specmc): failed
 Et   1   6.   Failure to comply with the following addiuonal condltons

 .,ou",".nReleasoViolaionHearingbeforeaneutralHeaIingolflceftodeterminewhetherornotprobablacauseExisls
                                                                                                     benaliat ttris neadns and vou mav retain an attomev to repres€nl
 that you committed on" or rorJ orii,liiJi"iiiiiJn*-i"o "u"iJ]"Vfr-rlv
                                                                       iiii"i".o rp*[l-r, v"r7J*";;;;6i;p;;""ttt              wiro can provide relevant inlormation'
 you ar the hearing. you ."v pfu""ni*iaence and you ,"v ,"i"'"
                                                                 *,in?"-ir,!r""r in                                 "tn"&""
                                                                                    "&"riI'oiffi
                                                                                                prior to the hearing dat6, you are nol enfltled to a praliminary hearing'
                                                  new cdminal charge is determined by the court
 outsrde of cook county, it probabre cause on any




  your preliminary hearing is scheduled to be held               on:                       ,zo-at-Eam'                Elp'rn at:
                                                                                                                       recommend to the Pdsoner Revlew Board that the
                                                                     hearing, you may request that the hearing officer
  Not6: , probabre cause is found at the pr.riminary parore.revocadon hearing.
  iiiil ri,ilit* ;.*nt          ua wttroravun pending a fiiral parote rovocailon
                                                                                             below:
  Y,u have the right    tro   postsone or waive the hearing by inftialing ths appropdate box


x tr   B r"ffisilJrs*T*#J#:T'tiy"H:xthxlty,t*J:HBffifxJ.:1;,st;,9frfi:r#$:F":'ff1ilnnnon,
  rniriars                     ,. lf, ? wy(s     S-/:                                                    p.n.
                                                                                                                                                                            hearing
                                                                                                              with the understanding that I will be given a tull revocation
           f-l         c.
                       v'       i-alve    (lllinois offenders only): r elect to waive my preriminary hearing                                    violations'
                                                                                                         aoriit   am guilty ot any ol the above
           LI                   iliire   tne   prisoner Review Board. ttris waver ooes not mean tirat  t        I

           lnitials
                                                                                      giuih and waive my preliminary hearing'
           I-t.        D.       walve (Adult lnterstate compact only): I admit
           tl
           lniiials

   I have received            c-opy ol this-Notice of Charges:




   A copy ol                     was delivered to the alleged vlolator by:

                                           h*r-me/
                                                              File;
   Dlstrlbudon: Otlender; Releaslng Authorit$ Otfender'e.Case
                Parent Fleld Services Representawe; AMt,;
                Hearing Officefi if FOS, lnterstate Compact
            Case: 1:15-cv-04818 Document #: 6 Filed: 08/13/15 Page 11 of 11 PageID #:34
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